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                           UNITED STATES DISTRICT COURT FOR THE
                               SOUTHERN DISTRICT OF FLORIDA
                                       Miami Division

                                Case Number: 06-60130-CR-MORENO

    UNITED STATES OF AMERICA,

                   Plaintiff,
    VS.


    GARY PARKER,

                   Defendant.

  - - - - - - - - - - - - - - - - - -I
   ORDER DENYING THE DEFENDANT'S MOTION FOR COMPASSIONATE RELEASE

          Defendant Gary Parker, who has already been placed in home confinement by the Bureau

  of Prisons, moved for compassionate release under Section 603 of the First Step Act of 2018, Pub.

  L. 115-391, 132 Stat. 5194 and 18 U.S.C. § 3582(c)(l)(A). Because the Defendant has failed to

   show extraordinary and compelling reasons exist warranting a reduction in his sentence, the

  motion is denied.

                                   I.     BACKGROUND

          In 2007, a jury convicted the Defendant of conspiracy to defraud the United States, in

   violation of 18 U.S.C. § 371 (Count 1), 28 counts of wire fraud, in violation of 18 U.S.C. § 1343

   (Counts 2-24, 28, 31.:.34), mail fraud, in violation of 18 U.S.C. § 1341 (Count 36), money

   laundering conspiracy, in violation of 18 U.S.C. § 1956(h) (Counts 38), 12 counts of money

   laundering, in violation of 18 U.S.C. § 1956(a)(l)(A)(i) (Counts 39-50) and conspiracy to impede

  the Internal Revenue Service, in violation of 18 U.S.C. § 371 (Count 51). Thereafter, the

   Defendant was sentenced to a term of imprisonment of 240 months and the Eleventh Circuit
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  affirmed the Defendant's convictions and sentence. See United States v. Parker, 302 Fed. Appx.

  889 (11th Cir. 2008).

          The Defendant filed a prose motion for compassionate release because the Federal Bureau

  of Prisons denied his request for home confinement and he is more likely to get severely ill from

   COVID-19 as he is over 65 years of age. 1 In a response in opposition filed on September 11, 2020,

  the Government stated that a review of the Federal Bureau of Prisons' records indicated that the

  Defendant was initially approved for transfer to Community Corrections based on the Elderly

   Offender Program, where he would have been able to serve the remainder of his sentence in home

   confinement. However, such a transfer was denied because the Defendant was unable to provide

   a viable release plan for home confinement status, e.g., a verifiable release plan address, a proper

  telephone service that would allow the authorities to monitor him, and statements from all adults

   sharing the resident that they were aware of the Defendant's status and did not oppose his

  participation in the program. The Court subsequently appointed the Federal Public Defender's

   Office to represent the Defendant on his motion for compassionate release. In a December 18,

   2020 notice, the Defendant indicated he was released to home confinement.

          Notwithstanding his release to home confinement, the Defendant seeks compassionate

   release pursuant to § 3582(c)(l)(A), as amended by the First Step Act. In a prior communication

   to the Warden, dated March 24, 2020, the Defendant stated as follows:

          I will be 73 years old in two weeks. In 2016 I was diagnosed with skin cancer and
          received an operation. I have completed 13 years of a 20 year sentence for Wire
          Fraud and other non-violent white collar offenses. I have absolutely no violence or
          weapon offenses in my past which can be verified in my [Presentence Investigation
          Report]. Due to the Coronavirus Pandemic, for which I am at a high probability of
          being exposed to resulting in death, I am requesting that you submit me for early
          release under the Compassionate Release provision of the First Step Act. Tharik-
          you for your attention to this matter.
   1
    https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-medical-
   conditions.html#MedicalConditionsAdults (last visited June 11, 2021 ).

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   (D.E. 385-1). The Government argues that the Defendant's motion for compassionate release

   should be denied for three reasons: (1) there is no motion from the Director of the Federal Bureau

   of Prisons presently before the Court seeking the modification of Defendant's sentence; (2) the

   Defendant has not demonstrated that he has exhausted all administrative rights to appeal a failure

   of the Federal Bureau of Prisons to bring a motion on his behalf; and (3) the Defendant's

   compassionate release would not comport with the 18 U.S.C. § 3553(a) factors.

                                 II.     LEGALSTANDARD

          "Generally, a district court may not modify a term of imprisonment once imposed." United

   States v. Moreno, 421 F.3d 1217, 1219 (11th Cir. 2005). Under § 3582(c), "[a] court may not

   modify a term of imprisonment once it has been imposed" unless an exception applies, or the

   modification is expressly permitted by statute or by Rule 35 of the Federal Rules of Criminal

  .Procedure. One of those exceptions, § 3582(c)(1 )(A)(i), as amended by § 603 of the First Step Act,

   provides as follows:

          [T]he court upon motion of the Director of the Bureau of Prisons, or upon motion
          of the defendant after the defendant has fully exhausted all administrative rights to
          appeal a failure of the Bureau of Prisons to bring a motion on the defendant's behalf
          or the lapse of 30 days from the receipt of such a request by the warden of the
          defendant's facility, whichever is earlier, may reduce the term of imprisonment ...
          if it finds that extraordinary and compelling reasons warrant such a reduction.

   § 3582(c)(l)(A). Moreover, "[§] 3582(c)(l)(A) allows a sentence reduction only if such a

   reduction is consistent with applicable policy statements issued by the Sentencing Commission."

   United States v. Bryant, 996 F.3d 1243, 1251 (11th Cir. 2021) (internal citations and quotations

   omitted). The applicable policy statement, § lB 1.13 of the Sentencing Guidelines, provides that a

   court may reduce a sentence "if, after considering the factors set forth in[] § 3553(a), to the extent

   that they are applicable, the court determines that--[e]xtraordinary and compelling reasons warrant



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  the reduction[,] [t]he defendant is not a danger to the safety of any other person or to the

  community, as provided in 18 U.S.C. § 3142(g)[,] and [t]he reduction is consistent with this policy

  statement." U.S.S.G. § lBl.13.

          Section 1B 1.13 defines four circumstances that can qualify as extraordinary and

  compelling reasons. First, extraordinary and compelling reasons may exist based on the medical

  condition of the defendant, where the defendant is "suffering from a terminal illness" or the

   defendant's ability to provide self-care within the environment of a correctional facility is

   substantially diminished and he or she is not expected to recover from at least one of the following:

   a serious physical or medical condition; a serious functional or cognitive impairment; or the

   deterioration of physical or mental health because of the aging process. § lB 1.13; id., comment

   (n.l(A)). Second, the age of the defendant can qualify as an extraordinary and compelling reason

   if the defendant is at least 65 years old, experiencing a serious deterioration in physical or mental

   health because of the aging process, and has served at least 10 years or 7 5 percent of his or her

  term of imprisonment, whichever is less. § lBl.13; id., comment (n.l(B)). Third, family

   circumstances can constitute compelling reasons where the caregiver of the defendant's minor

   child or minor children dies or is incapacitated, or when the defendant's spouse or registered

   partner becomes incapacitated and the defendant would be the only available caregiver for the

   spouse or registered partner. § lBl.13; id., comment (n.l(C)). Fourth, referred to as the "catch-

   all" provision, see Bryant, 996 F.3d at 1250, an extraordinary and compelling reason may be

   present where the Director of the Bureau of Prisons determines that such a reason exists "other

   than, or in combination with, the reasons described in subdivisions (A) through (C)." § lBl.13;

   id., comment (n.l(D)).




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          "lB 1.13 is an applicable policy statement that governs all motions under [§]

   3582(c)(l)(A)" and "district courts may not reduce a sentence under [§] 3582(c)(l)(A) unless a

   reduction would be consistent with lBl.13." Bryant, 996 F.3d at 1262. "The movant bears the

   burden of proving entitlement to relief under[§] 3582." United States v. Kannel!, 834 Fed. Appx.

   566, 567 (11th Cir. 2021) (citing United States v. Green, 764 F.3d 1352, 1356 (11th Cir. 2014)).

                                      III.    ANALYSIS

          As a preliminary matter, the Court finds that the Defendant complied with §

   3582(c)(l)(A)'s exhaustion requirement, as the Warden received the Defendant's request on

   March 24, 2020 and, therefore, more than 30 days have elapsed since the Warden's receipt of the

   Defendant's request prior to the filing of the instant motion. While the Government contends that

   the Defendant's email request to the Warden did not comply with "the detailed procedures in place

   to request compassionate release," 2 the Government did not cite any legal authority for the

   proposition that the failure to comply with specific procedures in place is fatal to the Defendant's

   motion. Also, to the extent that the Government argues that the Court is without jurisdiction to

   consider the motion for compassionate because it was not filed by the Director of the Bureau of

   Prisons, such an argument is without merit. As previously noted, § 3582(c)(l)(A)(i), as amended

   by § 603 of the First Step Act, procedurally allows defendants to file motions for compassionate

   release. See Bryant, 996 F.3d at 1264.

          Moving to the merits, after applying 1B 1.13 and considering the Defendant's specific

   circumstances, the Court denies the Defendant's motion because "his circumstances do not match

   any of the four categories [of extraordinary and compelling reasons]," and, as a result, "he is



   2
     The Government attached an email from an employee with the Defendant's correctional facility
   that outlines the procedures for requesting compassionate release (D.E. 386-1, at 1).


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   ineligible for a reduction." Bryant, 996 F.3d at 1254. The Defendant bears the burden in proving

  that he is entitled to relief under § 3582, see Kannel!, 834 Fed. Appx. at 567, and, here, he has

   failed to show that extraordinary and compelling reasons exist, as defined by applicable policy

   statement, lBl.13, that would warrant a reduction in his sentence, see Bryant, 996 F.3d at 1265

   ("Because [defendant's] motion does not fall within any of the reasons that lBl.13 identifies as

   'extraordinary and compelling,' the district court correctly denied his motion for a reduction of his

   sentence."). The Defendant argues that he has a high probability of being exposed to COVID-19

   but the extensive availability of vaccines clearly rebuts that dated argument. In addition, his home

   confinement status as a result of the Bureau of Prisons' decision renders him safer at home than if

   the sentence has to be reduced to time served.

                                    IV.     CONCLUSION

          Thus, for the foregoing reasons, the Court denies the Defendant's motion for

   compassionate release pursuant to § 3582.
                                                                                    H
          DONE AND ORDERED in Chambers at Miami, Florida, this                 /~ -:r June 2021.

                                                 FEDBRICO A--Mc1R.EFr6
                                                 UNITED STATES DISTRICT JUDGE

   Copies furnished to:

   Counsel of Record




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